

Matter of Paulino v Webber (2023 NY Slip Op 01483)





Matter of Paulino v Webber


2023 NY Slip Op 01483


Decided on March 21, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 21, 2023

Before: Manzanet-Daniels, J.P., Singh, Kennedy, Shulman, , JJ. 


C Appeal No. 17564 Case No. 2023-00329 

[*1]In the Matter of Luis Paulino, Petitioner, 
vHon. Troy K. Webber et al., Respondents.


Luis Paulino, petitioner pro se.
Letitia James, Attorney General, New York (Miranda R. Onnen of counsel), for respondents.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 21, 2023








